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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

NATHANIEL SPRIGGS                           :       CIVIL ACTION
                                            :
                Plaintiff,                  :       No. ___________________
                                            :
       v.                                   :
                                            :
CITY OF HARRISBURG                          :
and                                         :       JURY TRIAL DEMANDED
MAYOR WANDA WILLIAMS                        :
(in her individual capacity only)           :
                                            :
                Defendants.                 :


                              CIVIL ACTION COMPLAINT

       Plaintiff Nathaniel Spriggs complains as follows against Defendants City of
Harrisburg and Mayor Wanda Williams (in her individual capacity only):


I.     Introduction

1.     Harrisburg Mayor Wanda Williams has a big family. And as Mayor, she has seized

upon her official position to create a taxpayer-funded jobs program for her family. While

engaging in this dubious exercise of public service, she pressured other city officials to assist

her. Plaintiff was one of them. But Plaintiff - a long-time and faithful public servant to the

City of Harrisburg - refused to go along quietly with Williams’ efforts to enrich her family

at the public’s expense. Williams (having no further use for Plaintiff) fired him after he

objected to her misconduct. Because her actions were pellucidly illegal, Plaintiff prosecutes

this action to redress the brazen violations of the law that have caused him - and the City’s

taxpayers - great harm.
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2.    Plaintiff presents claims for violations of his First Amendment rights, violations of

the Pennsylvania Whistleblower Law, 43 P.S. § 1421 et seq. (“PWL”) and for a wrongful

termination as defined by Pennsylvania law.


II.   Parties

3.    Plaintiff is a male citizen of the United States. He resides in Dauphin County,

Pennsylvania.

4.    Defendant City of Harrisburg (“City”) is the county seat of Dauphin County, and

maintains its business address at The Rev. Dr. Martin Luther King, Jr. City Government

Center, 10 North Second Street, Harrisburg, PA 17101.

5.    The City is a third class city of the Commonwealth of Pennsylvania, existing under

provisions of the Third Class City Code, 53 P.S. § 35101 et seq.

6.    The City operates pursuant to the Optional Third Class City Charter Law, 53 P.S. §

41101 et seq.

7.    Defendant Wanda Williams (“Williams”) is a female citizen of the United States. She

resides in Dauphin County, Pennsylvania.

8.    Williams was first elected to Harrisburg City Council in 2005 and served as Council

President from 2010 through 2021.

9.    In 2021, Williams was elected Mayor of the City, and her term began in January 2022.

10.   According to Williams’ campaign and official publications, she has been married to

her husband for more than 43 years and together they have 5 children, 18 grandchildren and

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13 great-grandchildren.

11.    Based on her years in public service, upon information and belief, Williams is well

aware that her official position in government should not be utilized to create a defacto jobs

program for her family.


III.   Jurisdiction and Venue

12.    This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendants to comply with traditional notions of fair play and substantial

justice, satisfying the standard set forth by the United States Supreme Court in Int’l Shoe Co.

v. Washington, 326 U.S. 310 (1945) and its progeny.

13.    The United States District Court for the Middle District of Pennsylvania has original

subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 because it arises

under the laws of the United States. The Court may also maintain supplemental jurisdiction

over state law claims set forth herein pursuant to 28 U.S.C. § 1367(a) and Rule 18(a) of the

Federal Rules of Civil Procedure because they are sufficiently related to the claim(s) within

the Court’s original jurisdiction that they form part of the same case or controversy.

14.    Venue is properly laid in this District pursuant to 28 U.S.C. §§ 1391(b)(2) and (c)

because a substantial part of the events or omissions giving rise to the claims set forth herein

occurred in this judicial district and Defendants are subject to personal jurisdiction in the

Eastern District of Pennsylvania.

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IV.    Factual Background

15.    Plaintiff was born and raised in Dauphin County, having graduated the former

William Penn High School in 1989.

16.    Plaintiff was first hired by the City in or about 1996, starting in the position of janitor.

17.    Over the two decades Plaintiff ascended into higher-level jobs in various city

departments.

18.    In or about 2015, Plaintiff began performing management-level work within the City’s

Department of Traffic and Engineering.

19.    In or about early 2017, Plaintiff was named Solid Waste and Logistics Coordinator

within the City’s Department of Public Works.

20.    During his first 20 years as a City employee, Plaintiff also managed to earn his

Associate’s degree from Harrisburg Area Community College, his Bachelor’s degree from

Wilson College and his Master’s degree in Business Administration from Eastern University.

21.    In or about August 2017, Plaintiff left the City’s employ to accept the position of

Director of Public Works for Susquehanna Township, Dauphin County.

22.    Shortly after Williams won the City’s Democratic mayoral primary in May 2021, her

campaign operatives contacted Plaintiff to discuss the possibility of his returning to the City

as Director of Public Works. Plaintiff initially declined the overture.

23.    After several additional entreaties from Williams’ campaign and Williams herself,

Plaintiff agreed to return to the City and serve as Director of Public Works in a Williams


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administration.

24.    In or August 2021, then-Mayor Papenfuse asked Plaintiff to return to the City as

Director of Public Works at that time, irrespective of the fact that Plaintiff had already agreed

to return should Williams win the November general election.

25.    Williams was agreeable to Plaintiff rejoining the City even before the general election,

and so Plaintiff began his second stint with the City on or about September 27, 2021. He was

Director of Public Works.

26.    In or about November-December 2021, even before Williams took office, she called

Plaintiff and demanded he find other work for her son Dion Dockens, then an employee

within the Public Works Department.

27.    Upon information and belief, Dockens had sustained a non-work related injury and

had exhausted his paid leave time. He needed a different job, one that he could physically

do, so that he could get back on the payroll.

28.    Williams wanted Plaintiff to assign her son Dockens to a different job than the one

he had been performing on a sanitation/recycling truck. Plaintiff told Williams that he had

no other available positions.

29.    Williams warned Plaintiff to find something or I’m going to very upset. She gave him

until the end of the day.

30.    Plaintiff did what he was told, and re-assigned Dockens to the Highway Department

collecting leaf bags for approximately two months until Dockens was able to return to his


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actual job.

31.    Shortly after Williams was inaugurated, in or about January - February 2022, Williams

instructed Plaintiff via multiple telephone calls to create a management position for her son

Dockens, for Williams’ granddaughter, for Williams’ nephew, and various other members

of Williams’ family.

32.    Plaintiff began working on two scenarios for Dockens. One scenario was to make

Dockens a City Island Superintendent. The other was to make Dockens a Sanitation

Supervisor.

33.    Because the Sanitation Supervisor position required certain credentials that Dockens

did not possess, Williams instructed Plaintiff to alter the job description to fit her son’s

qualifications.

34.    In or about February 2022, Williams called Plaintiff and demanded that he discipline

an employee for talking about Dockens. The employee was related to an ex-girlfriend of

another son of Williams.

35.    Plaintiff informed Williams he had no right to discipline that employee as no work

rules had been violated. Williams nonetheless insisted that Plaintiff discipline the employee

immediately.

36.    Plaintiff proceeded to the job site and spoke with the employee. Plaintiff asked the

employee to not make comments during working hours about Dockens, as the Mayor was

very upset.


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37.     Plaintiff contacted Williams and let her know he had counseled the employee and the

issue was resolved.

38.     Approximately two days later, the employee filed a complaint against Plaintiff and the

City.

39.     In or about March 2022, the City was visited by the chief counsel of the State Ethics

Commission. Counsel explained what constituted ethics violations and that he was putting

all employees on notice.

40.     At that point, Plaintiff refused to carry out the Mayor’s demands regarding jobs for

her family.

41.     In or about April 2022, Williams screamed at Plaintiff on the telephone, asking him

why he had not yet promoted Dockens. The Mayor stated Dockens was considering moving

to Ohio if he was not promoted. Then the Mayor threatened to fire Plaintiff and his entire

management staff if Dockens moved away.

42.     On or about April 29, 2022, Plaintiff notified City Solicitor Neil Grover of the

Mayor’s demands regarding Dockens, and that her actions were in violation of the state’s

ethics law.

43.     Plaintiff told Grover that he was no longer willing to sign off on Dockens’ promotion.

Plaintiff told Grover that Dockens was not qualified and that Williams had requested that he

alter job requirements to cater to her son.

44.     Plaintiff told Grover he felt this was an ethics violation and he wanted no part of it.


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45.    Grover responded that promoting Williams’ son could result in ethics violation

charges against Plaintiff, Grover, Williams and the City, and that they were not going to do

it.

46.    Later that same day Williams called Plaintiff. She told him Grover had informed her

of their conversation regarding Dockens and the risk of an ethics violation.

47.    Williams was very upset and wanted Plaintiff to report to her office right away.

48.    Williams’ assistant Lisa Blackston, however, called Plaintiff immediately thereafter

and informed Plaintiff that the Mayor would meet with him on Monday, May 2nd instead.

49.    On Monday May 2, 2022, Williams summoned Plaintiff, Solicitor Grover and Human

Resources Director Joni Willingham for a meeting. Grover informed Williams that Dockens

will not be eligible for a promotion into management because it violates ethics rules.

50.    Williams then threatened to fire all three of them if they didn’t come up with a way

to promote Dockens.

51.    In or about May 2022, Williams angrily called Plaintiff after he disciplined an

employee for walking off the job during his work shift. The employee at issue was the

boyfriend of Williams’ daughter. The employee at issue later resigned and Williams was

furious with Plaintiff about the matter.

52.    On or about June 16, 2022, Dockens was caught by his manager driving a City-owned

truck in York without having a proper license.

53.    At Plaintiff’s direction, Dockens was disciplined on Friday, June 17, 2022, and given


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a one-day unpaid suspension.

54.     Due to the federal holiday, the next business day was Tuesday, June 21st. At

approximately 8:15 a.m. that morning, City Business Administrator Daniel Hartman texted

Plaintiff. Plaintiff called him and Hartman said to come to the office right away.

55.     Plaintiff asked why. Hartman said I have a discipline to administer. Plaintiff asked

who’s discipline is it? Hartman said yours. Plaintiff asked what did I do? Hartman replied

I’ll tell you when you get here.

56.     On the way to the City Government Center, Plaintiff called Williams. Williams didn’t

take the call.

57.     When Plaintiff arrived at the City Government Center, he asked the Mayor’s secretary

what’s going on.

58.     The secretary responded, it’s f----d up. Dan [Hartman] will be out in a moment.

59.     HR Director Willingham then showed up. She and Plaintiff went into the conference

room.

60.     Plaintiff asked Willingham what’s this about? Willingham shrugged her shoulders,

and said nothing.

61.     Hartman then walked in with his assistant. He sat across from Plaintiff, next to

Willingham. Hartman slid over a sheet of paper, which was Plaintiff’s termination letter.

62.     In the termination letter, Plaintiff was informed he was being fired, inter alia, for

signing payroll action forms the prior business day.


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63.    Plaintiff replied that he had signed the forms because he had been instructed to do so

by the City’s Finance Director Marita Kelly, and the City’s Payroll Manager Sarah Fedor.

64.    After Hartman contested Plaintiff’s assertion, Plaintiff informed Hartman that he had

the emails to prove it.

65.    Hartman and Willingham then looked at each other, and shook their heads. Hartman

finally said, “the Mayor just wants you fired.”

66.    Although Kelly and Fedor also approved the payroll action forms at issue, neither was

fired. Willingham herself was present when Plaintiff signed the forms that were given to him

to sign.

67.    The Mayor herself had approved the payroll actions, as had City Council.

68.    As made plain above, the explanation Defendants provided for terminating Plaintiff’s

employment was phony and the real reason was that Williams took exception to Plaintiff’s

reporting of, objections to, and refusal to be complicit in, her unlawful conduct.



                         FIRST CAUSE OF ACTION
           (AGAINST WILLIAMS IN HER INDIVIDUAL CAPACITY ONLY)
                   VIOLATION OF THE FIRST AMENDMENT
                   TO THE UNITED STATES CONSTITUTION

69.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

70.    As Mayor, Williams’ actions toward Plaintiff were taken under color of state law.

71.    The First Amendment to the Constitution of the United States provides:

           Congress shall make no law respecting an establishment of religion, or

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        prohibiting the free exercise thereof; or abridging the freedom of speech,
        or of the press; or the right of the people peaceably to assemble, and to
        petition the Government for a redress of grievances.

        U.S. Const. amend. I.

72.    These protections of the First Amendment are also binding on the states and their

sub-governments through the due process clause of the Fourteenth Amendment to the

Constitution of the United States.

73.    Section 1103(a) of the Pennsylvania Ethics Act (“Act”) specifically provides that

“[n]o public official or public employee shall engage in conduct that constitutes a conflict

of interest.” 65 Pa. C.S. §1103(a).

74.    Section 1102 of the Act defines a “conflict of interest,” in relevant part, as follows:

        “Conflict” or “conflict of interest.” Use by a public official or public
        employee of the authority of his office or employment or any confidential
        information received through his holding public office or employment for
        the private pecuniary benefit of himself, a member of his immediate family
        or a business with which he or a member of his immediate family is
        associated.

        65 Pa. C.S. § 1102.

75.    The Act defines “[i]mmediate family” as “[a] parent, spouse, child, brother or sister.”

65 Pa. C.S. § 1102.

76.    Plaintiff’s reports to Grover and the Mayor objecting to the Mayor’s violations of the

Act constitute protected First Amendment activity.

77.    By firing Plaintiff because of his protected activity, Williams knowingly, purposefully

and deliberately violated Plaintiff’s First Amendment rights.

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78.    In the fashion described above, Williams acted with malice and reckless indifference

to Plaintiff’s First Amendment rights.

79.    Plaintiff is entitled to seek redress for the harms caused by Williams’s violation of his

First Amendment rights pursuant to 42 U.S.C. § 1983.

80.    Section 1983 provides, in relevant part:

        Every Person who, under color of any statute, ordinance, regulation,
        custom, or usage, of any State or Territory or the District of Columbia,
        subjects, or causes to be subjected, any citizen of the United States or other
        person within the jurisdiction thereof to the deprivation of any rights,
        privileges or immunities secured by the Constitution and laws, shall be
        liable to the party injured in an action at law, suit in equity, or other proper
        proceeding for redress ….

        42 U.S.C. § 1983.

81.    As a result of this First Amendment violation, Plaintiff suffered damages including,

but not limited to, denial of employment, harm to reputation, lost wages, lost fringe benefits,

lost seniority, emotional pain and suffering, and loss of enjoyment of life.



                    SECOND CAUSE OF ACTION
      VIOLATIONS OF THE PENNSYLVANIA WHISTLEBLOWER LAW
                  (against the City of Harrisburg only)

82.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

83.    The PWL provides in pertinent part:

           [n]o employer may discharge, threaten or otherwise discriminate or
           retaliate against an employee . . . because the employee . . . makes a
           good faith report or is about to report, verbally or in writing, to the
           employer or appropriate authority an instance of wrongdoing or waste.

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           43 P.S. § 1423(a).

84.    The PWL defines “Waste” as “[a]n employer’s conduct or omissions which result in

substantial abuse, misuse, destruction or loss of funds or resources belonging to or derived

from Commonwealth or political subdivision sources.” 43 P.S. § 1422.

85.    The PWL defines “Wrongdoing” as “[a] violation which is not of a merely technical

or minimal nature of a Federal or State statute or regulation, of a political subdivision

ordinance or regulation or of a code of conduct or ethics designed to protect the interest of

the public or the employer.” 43 P.S. § 1422.

86.    Plaintiff engaged in protected activity under the PWL by reporting in good faith

instances of Waste and Wrongdoing.

87.    The City’s actions in removing Plaintiff from his job came in direct response to, and

in retaliation for, Plaintiff’s protected activity and therefore constitute a violation of the

PWL.



                   THIRD CAUSE OF ACTION
       WRONGFUL TERMINATION UNDER PENNSYLVANIA LAW
                (against the City of Harrisburg only)

88.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in full.

89.    In Pennsylvania, the public policy exception to employment at-will recognizes a cause

of action for wrongful discharge if the employee has been retaliated against for conduct

actually required by law or refusing to participate in conduct actually prohibited by law. See

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Krajsa v. Keypunch, Inc., 424 Pa. Super. 230, 622 A.2d 355 (1993).

90.    The City’s action in firing Plaintiff because he refused to participate in conduct

proscribed by the Act constitutes a wrongful termination.

91.    As a result of Defendant’s unlawful termination, Plaintiff has suffered pecuniary

losses, physical damage, emotional pain, anguish and suffering, humiliation, inconvenience,

loss of enjoyment of life, and other non-pecuniary losses, as set forth herein.

92.    Defendant’s conduct as aforesaid reflected an “evil motive” or “reckless indifference

to the rights of others.” More specifically, the City exhibited a reckless indifference to

Plaintiff’s rights by demanding that he participate in unlawful activity and then firing him

when he refused to so do.



       WHEREFORE, upon entering judgment in favor of Plaintiff and against Williams

(in her individual capacity) on the First Cause of Action, against the City on the Second and

Third Causes of Action, Plaintiff prays that this Court enter an additional order providing as

follows:

A.     Williams and the City are to be permanently enjoined from discriminating and/or

       retaliating against Plaintiff on any basis proscribed by the First Amendment, the PWL,

       the Act;

B.     Williams and the City are to promulgate and/or adhere to a policy prohibiting First

       Amendment, PWL and Act violations, and are to ensure this policy is enforced;



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C.   Williams and the City are to compensate Plaintiff, reimburse Plaintiff, and make

     Plaintiff whole for any and all pay and benefits Plaintiff would have received had it

     not been for their illegal actions, including but not limited to back pay, front pay,

     interest, salary, pay increases, bonuses, insurance, benefits, training, promotions, lost

     401K or retirement benefits, and seniority. Plaintiff should be accorded those benefits

     illegally withheld from the date his employment was terminated until the date of

     verdict, and Moran and the City should be ordered to provide an accounting of all

     benefits lost by Plaintiff to ensure Plaintiff is made whole if deemed appropriate by

     the Court;

D.   Plaintiff is to be awarded compensatory damages for the pain, suffering, and

     humiliation caused by actions of Williams and the City;

E.   Williams is to pay punitive damages to Plaintiff as permitted by Section 1983, in an

     amount believed by the trier of fact to be appropriate to punish him for her willful,

     deliberate, malicious, reckless and outrageous conduct, and to deter her and other

     officials who act individually under the color of state law from engaging in such

     misconduct in the future;

F.   Williams is to pay a civil fine of $500 for violating the PWL under the color of an

     employer’s authority, pursuant to 43 P.S. § 1426.

G.   Plaintiff is to be awarded the costs and expenses of this action and reasonable

     attorneys’ fees as provided by applicable federal and state law;



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H.       This Court should grant any and all other such legal, injunctive and/or equitable relief

         as it deems necessary, just and appropriate;

I.       This Court should maintain jurisdiction over the instant action to ensure full

         compliance with its Orders therein until such time it is satisfied that its Orders and

         dictates have been complied with in full by Defendants.



REQUEST FOR JURY TRIAL

Plaintiff hereby makes his request for a jury trial for all claims raised in this action.


                                             Respectfully submitted,

                                             WEINSTEIN LAW FIRM, LLC

                                      By:    /s/ Marc E. Weinstein
                                             Marc E. Weinstein, Esquire
                                             500 Office Center Drive
                                             Suite 400
                                             Fort Washington, PA 19034
                                             267.513.1942
                                             marc@meweinsteinlaw.com
                                             Counsel to Plaintiff


Dated:          September 20, 2022




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JS 44 (Rev. 08/18)                                                   CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                  NATHANIEL SPRIGGS
                                                                                                        DEFENDANTS CITY OF HARRISBURG AND WANDA WILLAMS
                                                                                                      IN HER INDIVIDUAL CAPACITY

   (b) County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
Marc E. Weinstein
WEINSTEIN LAW FIRM, LLC 500 Office Center Drive, Suite 400
Fort Washington, PA 19034 267-513-1942 marc@meweinsteinlaw.com

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government           u 3    Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                        (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                   of Business In This State

u 2    U.S. Government           u 4    Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                        (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                               Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                        TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u 110 Insurance                    PERSONAL INJURY               PERSONAL INJURY               u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u 120 Marine                     u 310 Airplane               u 365 Personal Injury -                of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u 130 Miller Act                 u 315 Airplane Product             Product Liability          u 690 Other                               28 USC 157                       3729(a))
u 140 Negotiable Instrument             Liability             u 367 Health Care/                                                                                    u 400 State Reapportionment
u 150 Recovery of Overpayment u 320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                u 410 Antitrust
      & Enforcement of Judgment         Slander                     Personal Injury                                                u 820 Copyrights                 u 430 Banks and Banking
u 151 Medicare Act               u 330 Federal Employers’           Product Liability                                              u 830 Patent                     u 450 Commerce
u 152 Recovery of Defaulted             Liability             u 368 Asbestos Personal                                              u 835 Patent - Abbreviated       u 460 Deportation
      Student Loans              u 340 Marine                       Injury Product                                                       New Drug Application       u 470 Racketeer Influenced and
      (Excludes Veterans)        u 345 Marine Product               Liability                                                      u 840 Trademark                        Corrupt Organizations
u 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY                           LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
      of Veteran’s Benefits      u 350 Motor Vehicle          u 370 Other Fraud                u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 485 Telephone Consumer
u 160 Stockholders’ Suits        u 355 Motor Vehicle          u 371 Truth in Lending                  Act                          u 862 Black Lung (923)                 Protection Act
u 190 Other Contract                   Product Liability      u 380 Other Personal             u 720 Labor/Management              u 863 DIWC/DIWW (405(g))         u 490 Cable/Sat TV
u 195 Contract Product Liability u 360 Other Personal               Property Damage                   Relations                    u 864 SSID Title XVI             u 850 Securities/Commodities/
u 196 Franchise                        Injury                 u 385 Property Damage            u 740 Railway Labor Act             u 865 RSI (405(g))                     Exchange
                                 u 362 Personal Injury -            Product Liability          u 751 Family and Medical                                             u 890 Other Statutory Actions
                                       Medical Malpractice                                            Leave Act                                                     u 891 Agricultural Acts
      REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS              u 790 Other Labor Litigation          FEDERAL TAX SUITS              u 893 Environmental Matters
u 210 Land Condemnation          u 440 Other Civil Rights       Habeas Corpus:                 u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 895 Freedom of Information
u 220 Foreclosure                u 441 Voting                 u 463 Alien Detainee                   Income Security Act                  or Defendant)                   Act
u 230 Rent Lease & Ejectment     u 442 Employment             u 510 Motions to Vacate                                              u 871 IRS—Third Party            u 896 Arbitration
u 240 Torts to Land              u 443 Housing/                     Sentence                                                              26 USC 7609               u 899 Administrative Procedure
u 245 Tort Product Liability           Accommodations         u 530 General                                                                                               Act/Review or Appeal of
u 290 All Other Real Property    u 445 Amer. w/Disabilities - u 535 Death Penalty                    IMMIGRATION                                                          Agency Decision
                                       Employment               Other:                         u 462 Naturalization Application                                     u 950 Constitutionality of
                                 u 446 Amer. w/Disabilities - u 540 Mandamus & Other           u 465 Other Immigration                                                    State Statutes
                                       Other                  u 550 Civil Rights                     Actions
                                 u 448 Education              u 555 Prison Condition
                                                              u 560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from           u 3       Remanded from               u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                      Appellate Court                 Reopened                Another District             Litigation -                   Litigation -
                                                                                                                  (specify)                        Transfer                      Direct File
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     42 U.S.C. sec. 1983
VI. CAUSE OF ACTION Brief description of cause:
                                     Violations of First Amendment Rights and Illegal Employment Actions
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                           DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                            JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                       DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
09/20/2022                                                       /s/ Marc E. Weinstein, Esq. (PA ID No. 79474)
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                    APPLYING IFP                                      JUDGE                          MAG. JUDGE
